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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


 UNITED STATES, et al.,

                           Plaintiffs,

             - against -                     Civil Action No. 1:23-cv-00108
                                             (LMB) (IDD)
 GOOGLE LLC,

                           Defendant.




    DEFENDANT GOOGLE LLC’S REPLY MEMORANDUM IN SUPPORT OF ITS
       MOTION TO TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404(a)




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                                   PRELIMINARY STATEMENT

          “When a plaintiff with no significant ties to the Eastern District of Virginia chooses to

 litigate in the district primarily because it is known as the ‘rocket docket,’ the interest of justice ‘is

 not served.’” Pragmatus AV, LLC v. Facebook, Inc., 769 F. Supp. 2d 991, 997 (E.D. Va. 2011)

 (Brinkema, J.) (citing Original Creatine Pat. Co., Ltd. v. Met–Rx USA, Inc., 387 F. Supp. 2d 564,

 572 (E.D. Va. 2005)). And while this Court’s “‘rocket docket’ certainly attracts plaintiffs,” it must

 not “stand as a willing repository for cases which have no real nexus to this district.” Moore v.

 Sirounian, 2020 WL 5791090, at *5 (E.D. Va. July 20, 2020) (Brinkema, J.). Although Plaintiffs

 concede that access to this Court’s “rocket docket” is not a proper consideration under § 1404,

 ECF No. 47 (“Opp.”) at 25, they nevertheless stake much of their argument against transfer on just

 that: their claimed need for access to the speed and efficiency for which courts in this District are

 known.

          Plaintiffs concede that they were motivated by the desire for “expeditious resolution” of

 their case through “swift” and “prompt judicial action,” Opp. at 3, 26, and that they made a

 “purposeful decision to litigate in this District because of the complexities and risk of delay” had

 they proceeded in the Southern District of New York (“S.D.N.Y.”). Id. at 10. These concessions

 make clear that Plaintiffs’ primary reason for filing in this District is their hope to leapfrog the

 substantively identical cases pending before the Honorable P. Kevin Castel in the S.D.N.Y. and

 thereby make up for their own delay. But Plaintiffs’ desire to outpace the S.D.N.Y. cases should

 be given no weight, and so cannot possibly outweigh the interest of justice and convenience factors

 under 28 U.S.C. § 1404 that plainly support transfer.

          Plaintiffs admit that venue in the S.D.N.Y. is proper, Opp. at 9 n.3, so the only issue

 presented under § 1404 is “‘whether the interest of justice and convenience of the parties and



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 witnesses justify transfer.’” Pragmatus, 769 F. Supp. 2d at 994 (quoting Agilent Techs., Inc. v.

 Micromuse, Inc., 316 F. Supp. 2d 322, 324-25 (E.D. Va. 2004)). That question asks the Court to

 weigh: “(1) plaintiff’s choice of forum, (2) convenience of the parties, (3) witness convenience

 and access, and (4) the interest of justice.” Pragmatus, 769 F. Supp. 2d at 994-95.

        Of these factors, Plaintiffs focus on their choice of forum, as it is the only factor that even

 arguably weighs in their favor. But in doing so, Plaintiffs manufacture a connection to Virginia

 that simply does not exist and greatly overstate the weight their choice should be

 afforded. Plaintiffs place unwarranted significance on the presence of the Commonwealth of

 Virginia as a plaintiff and ask the Court to focus on the alleged injuries of just a handful of the

 massive number of display advertising customers across the country. But the Eastern District of

 Virginia has no substantial or unique connection to the conduct at issue in this case. Instead,

 Plaintiffs filed in this District for reasons of speed. See Opp. at 10, 25-26. As a result, Plaintiffs’

 choice of forum is not entitled to any weight at all. Gen. Tire & Rubber Co. v. Watkins, 373 F. 2d

 361, 369 (4th Cir. 1967) (en banc) (granting mandamus and ordering transfer where “[t]he

 evidence indicates a high degree of forum shopping . . . [which] must not be indulged in the face

 of multiple litigation especially where, as here, the shopper is offered an equally convenient

 forum”).

        In their overemphasis on their choice of forum, Plaintiffs fail to grapple with what, in this

 case, should be the primary driver of the transfer analysis under § 1404: the interest of justice and,

 specifically, the risk of inconsistent rulings and judgments. Instead of addressing whether those

 risks weigh in favor of transfer, Plaintiffs incorrectly focus on whether transfer will “Obviate the

 Risk of Inconsistent Judgments” entirely. Opp. at 21. But that is not the test. Even if the risk of

 inconsistent judgments at trial cannot be avoided entirely through coordinated pretrial proceedings,



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 Plaintiffs ignore the manifold risks of inconsistent judgments in the pretrial phase, including

 rulings on attorney-client privilege, Daubert issues, and—most significantly—summary judgment.

 Moreover, Plaintiffs fail to address the inevitable waste and inefficiency that would result from a

 second federal court investing time and resources managing this extraordinarily complex case, as

 well as the massive waste that would occur if appeals of inconsistent rulings had to funnel through

 the courts of appeals in two different circuits.

        As for the convenience of the parties and witnesses, Plaintiffs concede that the S.D.N.Y.

 cases involve “related claims and facts” to this case, Opp. at 2, and even use the initial disclosures

 served in the S.D.N.Y. cases as a proxy for the third-party witnesses that will be relevant in this

 case, id. at 19-20. What is even more telling, Plaintiffs fail to identify a single legal issue that

 distinguishes this case from the S.D.N.Y. cases or a single witness who would be required for this

 case who will not also be required in the S.D.N.Y. cases. Even their mention of the U.S. military

 presence in Virginia does not tie that presence to the military’s purchase of display advertising

 technology or services from Google. And, finally, in acknowledging that this District is no more

 convenient for third parties than the S.D.N.Y. would be, id. at 20-21, Plaintiffs overlook that their

 own analysis shows that more third-party witnesses are in New York than anywhere else, with

 twelve times more witnesses in New York than in Virginia. ECF No. 47-1 (“Teitelbaum Decl.”),

 ¶ 4.

        Perhaps recognizing that the transfer analysis under 28 U.S.C. § 1404 does not weigh in

 their favor, Plaintiffs instead ground their Opposition in a congressional intent argument based on

 a different statute, 28 U.S.C. § 1407, and the Supreme Court’s pre-§ 1404 decision in United States

 v. Nat’l City Lines. Opp. at 2-3 (citing 334 U.S. 573, 589 (1948)). But Plaintiffs rely upon the

 wrong National City Lines decision. The Supreme Court revisited the 1948 decision cited by



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 Plaintiffs the very next year—following the adoption of § 1404—and held that § 1404 does apply

 to government antitrust suits. See United States v. Nat’l City Lines, 337 U.S. 78, 84 (1949). And

 moreover, when, as here, transfer under § 1404 is at issue, “the question of multidistrict transfer

 and consolidation is simply not before this Court.” F.T.C. v. Cephalon, 551 F. Supp. 2d 21, 32

 (D.D.C. 2008).

          Even if that were not so, the congressional intent argument that permeates Plaintiffs’

 Opposition is undermined by their explicit concession that they do not contend they are exempt

 from transfer under 28 U.S.C. § 1404. Opp. at 8. Read in light of that concession, Plaintiffs’

 Opposition boils down to a generalized and unsupported assertion that the transfer analysis should

 be informed by policy concerns that animated amendments to § 1407 instead of the governing

 principles that apply to § 1404—which Congress chose not to amend.

          Accordingly, Google respectfully requests that the Court transfer this case to the Southern

 District of New York where it can be coordinated by Judge Castel with the cases already before

 him.

                                            ARGUMENT
     I.   The Analysis Under 28 U.S.C. § 1404(a) Overwhelmingly Favors Transfer.
             A. The Interest of Justice Favors Transfer.
          In a case like this, where essentially identical cases1 are pending in another district, the

 interest of justice alone can justify transfer. Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d

 627, 633-37, 637 n.7 (E.D. Va. 2006) (interest of justice was the “dispositive consideration” in




 1
  Demonstrating the overlap between the cases, Texas Attorney General Ken Paxton told the Texas
 Senate on February 3, 2023 that “the U.S. Government just filed a copy of our [ad tech] case . . .
 you know what they say about plagiarism, it’s a form of flattery.” S. Comm. on Fin. at 2:07:44-
 2:08:12, 2023 Leg., 88th Sess. (Tex. 2023) (statement of Ken Paxton, Att’y Gen. of Texas),
 https://tlcsenate.granicus.com/MediaPlayer.php?view_id=53&clip_id=17183.
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 granting transfer, even though plaintiff’s choice of venue received “significant weight” and

 convenience of parties and witnesses weighed against transfer). 2 The “[m]ost prominent”

 considerations include the risk of inconsistent judgments and whether transfer would serve judicial

 economy. Id. at 635. Plaintiffs, in their Opposition, assert that “fairness considerations” weigh

 against transfer, Opp. at 21, 26, but then proceed to advocate for an outcome that would unfairly

 subject Google to duplicative litigation and that would waste the time and resources of the parties,

 nonparty witnesses, and this Court.

                    1. The Risk of Inconsistent Judgments Favors Transfer.
         Plaintiffs’ choice of venue actively courts the risk of inconsistent judgments. Both the

 S.D.N.Y. cases and this case seek damages, as well as declaratory, injunctive, and structural relief,

 based on the same legal theories and the same alleged conduct involving the same Google products

 and services, relying on many of the same documents collected in parallel investigations. ECF

 No. 44 (“Google Br.”) at 10-12, 14-15.

        In their Opposition, Plaintiffs do not address these risks and instead misstate the applicable

 test under § 1404. Rather than addressing whether this factor weighs in favor of transfer, Plaintiffs

 instead query whether the risk of inconsistent judgments in an MDL can ever be obviated

 altogether. Opp. at 21. The thrust of Plaintiffs’ argument seems to be that, because the S.D.N.Y.

 cases have been centralized only for pre-trial purposes (and thus may eventually return to their

 home districts for trial), the risk of inconsistent judgments cannot be avoided entirely and so this

 Court should ignore this critical (and often dispositive) factor. See id. at 22 (“[N]othing this Court




 2
   See also Rsch. Automation, Inc. v. Schrader-Bridgeport Int’l, Inc., 626 F.3d 973, 978 (7th Cir.
 2010) (“The interest of justice may be determinative . . . even where the convenience of the parties
 and witnesses points toward the opposite result.”). Here, convenience of the parties and witnesses
 also supports transfer.
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 will do with respect to this motion can prevent the possibility of inconsistent trial judgments or

 appellate rulings in these matters.”).

        Plaintiffs’ analysis is wrong because it ignores the risks of inconsistent rulings in the pre-

 trial phase, including rulings on attorney-client privilege, Daubert issues, and, most critically,

 summary judgment. See Google Br. at 15-16.3 Transfer is favored under § 1404 when it would

 avoid the “‘prospect of inconsistent outcomes’ that does not exist when the same court manages

 both cases.” Hengle v. Curry, 2018 WL 3016289 at *11 (E.D. Va. June 15, 2018).

        Plaintiffs further argue that the presence of related cases in the transferee forum is given

 less weight when consolidation is not possible. Opp. at 24. But courts can and do transfer cases

 even when consolidation is not possible. As Judge Bates explained in Cephalon, “[t]he short

 answer to FTC’s contention is that consolidation is not the sole efficiency associated with

 transferring this case. In fact, the most compelling reason to grant this transfer—the need to avoid

 the risk of inconsistent judgments—is entirely independent from the prospect of consolidation.”

 551 F. Supp. 2d at 32. Moreover, “even where consolidation is not feasible, transfer is appropriate

 given that it is ‘a significant waste of judicial economies for two separate courts to adjudicate [the

 same] issues.’” Avante Int’l Tech., Inc. v. Hart Intercivic, Inc., 2009 WL 2448519, at *5 (S.D. Ill.

 July 22, 2009); D2L Ltd. v. Blackboard, Inc., 671 F. Supp. 2d 768, 783 (D. Md. 2009) (“Transfer

 is favored even if it is uncertain whether the transferred case will be consolidated with the related

 pending case.”). Indeed, “[t]o hold that the pendency of an action between the parties in another

 district could not be considered unless the action could be consolidated would unnecessarily limit




 3
   Plaintiffs speculate that “even within the confines of the MDL’s pre-trial proceedings, the
 possibility of varying rulings remains, even before the same judge.” Opp. at 23. Contrary to
 Plaintiffs’ implication, however, Google is confident that Judge Castel can ably rule on the same
 issues across his cases without creating inconsistencies.
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 the factors that should be considered in making a transfer determination .” A. J. Indus., Inc. v.

 U.S. Dist. Ct., 503 F.2d 384, 389 (9th Cir. 1974).

                    2. Judicial Economy Favors Transfer.
        By filing suit in this District, Plaintiffs invite a second federal court to unnecessarily expend

 its limited resources to manage and adjudicate an extraordinarily complex case when another

 federal district court has already invested significant time in grappling with the very same issues

 and will continue to do so regardless of the outcome of this motion. The Supreme Court has ruled

 that such duplication of judicial effort leads to the very “wastefulness of time, energy and money

 that 28 U.S.C. § 1404 was designed to prevent.” Cont’l Grain Co. v. The FBL-585, 364 U.S. 19,

 26 (1960).

        Plaintiffs also confuse and conflate the desire for judicial economy under § 1404—which

 focuses on the efficient resolution of all claims in the federal judicial system—with Plaintiffs’ own

 interest in advancing this case quickly. But Plaintiffs’ various appeals for the need for “expeditious

 resolution” of their case and “prompt judicial action” in light of the “pace of change in

 technology,” Opp. at 3, 26, have nothing to do with judicial economy under § 1404 and are difficult

 to reconcile with the DOJ’s own delay in bringing this case. See Google Br. at 10. Plaintiffs filed

 suit here seeking to make up for lost time, but “[t]he interests of justice are not served by such

 blatant forum shopping.” Telepharmacy Sols., Inc. v. Pickpoint Corp., 238 F. Supp. 2d 741, 744

 (E.D. Va. 2003) (granting transfer when “docket considerations [were] the primary reason that

 [plaintiff sought] to be heard” in the Eastern District of Virginia).

        Having waited to file a full two years after everyone else, Plaintiffs’ asserted need for speed

 rings hollow. See, e.g., Opp. at 5-10, 25-26. The DOJ began its ad tech investigation in 2019,

 issued its first CID dedicated to ad tech topics on October 7, 2019, and took its last deposition of



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 a Google ad tech witness over one year ago, see Garrett Decl. Ex. A.4 Even more remarkably,

 Plaintiffs’ case challenges acquisitions that closed in 2008 and 2011, see Compl. ¶¶ 16, 87, 312,

 and respectively were cleared to proceed by the FTC and the DOJ Antitrust Division itself. 5

 Having done nothing in the intervening 10 to 15 years, Plaintiffs now ask this Court to duplicate

 the efforts of Judge Castel and risk the prospect of conflicting or inconsistent rulings based on

 Plaintiffs’ sudden claim of urgency.

        The DOJ has never explained why it has waited so long to file this lawsuit. Public reporting

 suggests that the DOJ’s choice to sue now is driven by the recent January 2023 clearance of the

 Assistant Attorney General (“AAG”) for the Antitrust Division, Jonathan Kanter, to work on the

 case after a one-year recusal period.6 AAG Kanter previously represented Google’s ad tech rivals

 in Texas’s ad tech investigation—another illustration of the overlap in these two cases.7

        Judicial economy clearly favors transfer here. The MDL is already ahead of this case:

 Judge Castel has entered a Scheduling Order8 and discovery has commenced. Nine days ago,

 Google served its Responses and Objections to initial requests for production, in which Google

 agreed to produce additional documents that were previously produced to the DOJ in its ad tech

 investigation and to run additional searches for documents based on custodians and search terms


 4
   In support of its Motion, Google submits the Declaration of Tyler Garrett, dated March 8, 2023
 (the “Garrett Decl.”).
 5
   Press Release, Fed. Trade Comm’n, Federal Trade Commission Closes Google/DoubleClick
 Investigation (Dec. 20, 2007); Press Release, U.S. Dep’t of Justice, Statement of the Department
 of Justice's Antitrust Division on Its Decision to Close Its Investigation of Google Inc.'s
 Acquisition of Admeld Inc. (Dec. 2, 2011).
 6
   Josh Sisco, DOJ Antitrust Chief Cleared to Oversee Google Probes, POLITICO (Jan. 13, 2023),
 https://www.politico.com/news/2023/01/13/doj-antitrust-chief-cleared-to-oversee-google-probes-
 00077966.
 7
   Id. AAG Kanter also continues to be listed in the State of Texas’ initial disclosures as counsel
 for two of Google’s competitors and for a consortium that includes a number of private plaintiffs
 in the S.D.N.Y., but presumably that is a mistake.
 8
   Pre-Trial Order No. 5, In re Google Dig. Advert. Antitrust Litig., No. 1:21-md-03010 (S.D.N.Y.
 Nov. 21, 2022), ECF No. 394 [hereinafter “PTO No. 5”].
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 that were agreed with the DOJ and Texas. Garrett Decl. ¶ 3. Fact discovery is set to last through

 mid-2024, but production of documents must be substantially completed by the end of May of this

 year, and expert discovery is set to close within twenty-one months. PTO No. 5 ¶¶ 6.1, 7. That is

 not far off from this District’s average time to trial of eighteen months, Opp. at 25—and this case

 is more complex by orders of magnitude than the average case. See In re: Dig. Advert. Antitrust

 Litig., 555 F. Supp. 3d 1372, 1377 (J.P.M.L. 2021) (noting the “factually and legally complex”

 nature of the ad tech actions). And so, despite Plaintiffs’ decision to wait almost a year from taking

 its last deposition of a Google witness before bringing this action, see Garrett Decl. Ex. A,

 Plaintiffs’ case is well-positioned for Judge Castel to coordinate its pre-trial matters with the

 S.D.N.Y. cases.9

        Although Plaintiffs nod to the possibility of informal coordination between this Court and

 the MDL, Opp. at 25, Plaintiffs’ concerns about the pace of the MDL betray that they have no

 interest in coordinating discovery should this case remain here. Coordination requires similar

 events to follow similar timelines; that would be impossible if this case proceeds through discovery

 more quickly than the MDL. Uncoordinated discovery periods would only serve to multiply the

 inefficiencies and inconvenience of having essentially the same claims proceed in front of two

 different courts.

        Indeed, coordination between government and private antitrust suits located in the same

 district is commonplace and has led to efficient use of party, witness, and judicial resources. For

 example, in Cephalon, the District Court for the District of Columbia granted Cephalon’s § 1404

 motion to transfer the FTC’s antitrust suit against it to the Eastern District of Pennsylvania because


 9
   That Plaintiffs are the Government and that this is an antitrust case does not make a second,
 duplicative lawsuit more “efficient,” as Plaintiffs seem to suggest. Opp. at 25. Courts can and do
 transfer government antitrust cases under § 1404, including when there are related private cases in
 the transferee forum. See supra at 4, 6-7.
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 several plaintiffs’ actions concerning the same alleged conduct had already been pending for two

 years in that district. 551 F. Supp. 2d at 29-33 & n.8. Thereafter, all parties—including the FTC—

 submitted a joint Discovery Coordination Order that was entered by Judge Goldberg and provided

 for coordinated written discovery, depositions, and expert discovery. See Joint Mot. for Entry of

 Disc. Coordination Order, F.T.C. v. Cephalon, 2:08-cv-02141-MSG (E.D. Pa. Aug. 20, 2010),

 ECF No. 76.10 Likewise, in the Apple eBooks antitrust litigation, the private plaintiffs’ actions

 predated the DOJ’s and State Attorneys General’s suits, and the court overseeing all of the DOJ,

 States, and the private actions set a schedule for coordinated fact and expert discovery once the

 DOJ filed its suit. See Texas v. Penguin Grp. (USA) Inc., 2013 WL 1759567, at *1-3 (S.D.N.Y.

 Apr. 24, 2013) (describing case procedural history).11 This is precisely the type of coordination

 that is not barred by § 1407 but is in fact enabled and encouraged by § 1404.

             B. The Convenience of the Parties Favors Transfer.
         Plaintiffs do not assert that the convenience of the parties weighs against transfer—only

 that it is neutral. See Opp. at 13-18. But while Google has provided this Court with detail

 concerning the number and locations of party witnesses, Plaintiffs have failed to do so. Google

 provided a declaration identifying each of the Google witnesses who are or were last located in

 New York based on the initial disclosures in the S.D.N.Y. cases. Google Br. at 21.12 In contrast,


 10
    In fact, in addition to coordinating pre-trial matters, the FTC initially stated that “in the interest
 of judicial economy” it was “willing to consent to a joint trial on liability.” Letter from FTC to
 Goldberg, J. at 7, F.T.C. v. Cephalon, 2:08-cv-02141-MSG (E.D. Pa. July 31, 2013), ECF No. 205.
 11
    Notably, the DOJ, States, and private plaintiffs agreed to: (i) have the DOJ and States produce
 their investigative files to the private plaintiffs, (ii) share all discovery with all parties, (iii) enter
 joint Confidentiality and ESI Orders, and (iv) impose the same discovery and deposition
 limitations on all parties. Joint Initial Report, United States v. Apple, Inc., 1:12-cv-02826-DLC
 (S.D.N.Y. July 6, 2012), ECF No. 76.
 12
    Plaintiffs overstate Google’s burden of proof, Opp. at 16-17. When a party moves for transfer
 early in a case, as Google did here in filing mere weeks after the Complaint was filed, “the Court
 can reasonably infer” from the evidence that Google provided—namely, the significant presence
 of its ad tech business and employees in New York, see Reshetar Decl. ¶¶ 3-7—that many party
                                                     10
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 Plaintiffs merely mention an unspecified number of Army and “federal agency witnesses” who

 have “knowledge about federal agency advertising.” Opp. at 18 & n.12. But Army civilian

 personnel are employed in all 50 states,13 and Plaintiffs have not identified any specific witness

 that is based in Virginia. In the absence of any detail provided by Plaintiffs, this Court cannot

 assume that the relevant witnesses are located in Virginia. See Opp. at 18 (“[W]itnesses with

 relevant knowledge about federal agency advertising may also be found elsewhere in the

 country.”).

               C. The Convenience of Third-Party Witnesses Favors Transfer.
        Though Plaintiffs also claim that the convenience of third parties is neutral at best for them,

 Opp. at 21, their brief and supporting declaration confirm that the S.D.N.Y. is a far more

 convenient venue for third parties than this District. Indeed, Plaintiffs tacitly concede that there

 are more relevant third-party witnesses located in New York (thirty-seven) than in any other state,

 and that at least twelve times more relevant third-party witnesses reside in New York than reside

 in Virginia (where there are just three). Id. at 19-20 (citing Teitelbaum Decl. ¶ 4 & Table). And

 although Plaintiffs point out that many other likely witnesses are dispersed around the country, id.

 at 20-21, they cite no cases that support their contention that this factor makes convenience neutral

 where, as here, a strong plurality of third parties are located in the proposed transferee district.14


 witnesses “will be in or near the transferring jurisdiction.” See Dietrick v. Apex Sys., LLC, 2019
 WL 1745994, at *3 (D. Md. Apr. 18, 2019). In any event, to leave no doubt that Google has in
 fact met its burden, Google has added additional detail concerning the names and testimonial
 relevance of these Google witnesses in another declaration. Garrett Decl. ¶¶ 5-6 & Ex. B.
 13
    Military and Civilian Personnel by Service/Agency by State/Country, Def. Manpower Data Ctr.
 (Sept. 2022), https://dwp.dmdc.osd.mil/dwp/app/dod-data-reports/workforce-reports.
 14
    Plaintiffs’ cited cases, Opp. at 20-21, are distinguishable. Calabrese involved three witnesses
 from three different states, none of which were the proposed transferee forum. See Calabrese v.
 Teoco Corp., 637 F. Supp. 2d 160, 164 (S.D.N.Y. 2009). And Plaintiffs overread Robinson v. Eli
 Lilly and Co., 535 F. Supp. 2d 49, 52 (D.D.C. 2008), to require that “all or a majority” of witnesses
 be in any one district in order for convenience to have weight in the transfer calculus; there is no
 such rule. See In re Funeral Consumers Antitrust Litig., 2005 WL 2334362, at *2, *5 (N.D. Cal.
                                                   11
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         Moreover, if Plaintiffs were permitted to proceed in this District, this would subject third-

 party witnesses to duplicative discovery and depositions in two separate districts. This kind of

 unnecessary duplication is precisely the type of witness inconvenience that § 1404 is designed to

 alleviate. See, e.g., Forsburg v. Wells Fargo & Co., 596 F. Supp. 3d 572, 585-86 (W.D. Va. 2022)

 (“The convenience of the parties and witnesses clearly favors transfer in this case since each

 pending case would likely have some or all of the same witnesses, and transfer would prevent these

 witnesses from having to travel back and forth across the country to testify in multiple courts.”);

 Netlist, Inc. v. Smart Modular, Inc., 2013 WL 12128691, at *6 (C.D. Cal. Nov. 26, 2013)

 (“[F]orcing witnesses to testify to the same set of facts in [different districts] on different occasions

 would be highly inconvenient and costly.”).

             D. Because Plaintiffs Have Engaged In Forum Shopping, Their Choice of Forum
                Should Not Be Afforded Any Weight At All.
         While a plaintiff’s choice of forum may receive some deference, see Google Br. at 12-13,

 Plaintiffs’ choice here is not entitled to any deference because “forum shopping must not be

 indulged.” Gen. Tire & Rubber, 373 F.2d at 369 (granting mandamus and ordering transfer). That

 is particularly so “in the face of multiple litigation especially where, as here, the shopper is offered

 an equally convenient forum,” id., or when “the selected forum has little or no connection with the

 parties or the subject matter.” Pierce v. Coughlin, 806 F. Supp. 426, 429 (S.D.N.Y. 1992) (giving

 forum-shopping plaintiff’s choice of forum “no weight whatever”). Plaintiffs concede that they

 made a “purposeful decision to litigate in this District” to avoid delay, Opp. at 10, and to access

 this Court’s speedy docket, id. at 25-26. Because they admit to forum shopping, Plaintiffs’ choice

 of forum deserves no weight.



 Sept. 23, 2005) (granting transfer because plurality of witnesses identified in initial disclosures
 were in transferee district).
                                                    12
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        The Court also need not credit Plaintiffs’ assertions that their choice of forum deserves

 “substantial weight” because this District is the Commonwealth of Virginia’s home forum and

 because it bears a “substantial relation” to the cause of action. Opp. at 10. Any weight derived

 from those attributes assumes that there is a single home forum and a locally concentrated cause

 of action (or at least some substantial nexus between the forum and the underlying facts). Here,

 that is simply not the case. Plaintiffs (via the State of New York) are equally at home in the

 S.D.N.Y. See Spack v. Trans World Ent. Corp., 2017 WL 6209218, at *7 (D.N.J. Dec. 8, 2017)

 (holding transferee district is the “more favorable venue” where plaintiffs reside in both original

 and transferee district and defendant is not at home in original district).15 And nationwide sales

 activity does not create the connection with the forum necessary to warrant deference to a

 plaintiff’s forum choice. Google Br. at 22. Though Plaintiffs contend that Google’s position

 “understates the factual connection between the Department of Defense and this District,” Opp. at

 12, Plaintiffs do not assert any factual connection other than alleged injury from nationwide sales

 activity.16 See F.T.C. v. Graco Inc., 2012 WL 3584683, at *5 (D.D.C. Jan. 26, 2012) (finding that

 the FTC’s “broad assertion” of nationwide markets and effects established that government’s

 chosen forum had “no meaningful connection to this action”).




 15
    See also Valerino v. Holder, 2014 WL 11512352, at *1 (E.D. Va. Apr. 4, 2014) (“[C]hoice of
 forum is entitled to less weight where, as here, plaintiff's home forum is the transferee forum.”).
 16
    That the harm was suffered by a government agency is a non-factor. See Carter v. Wilson, 2019
 WL 13242563, at *4 (D.D.C. Mar. 25, 2019) (that the Air Force conducted some business in the
 District of Columbia was not sufficient to sustain venue because “‘[t]he mere involvement . . . on
 the part of federal agencies, or some federal officials who are located in Washington, D.C. is not
 determinative of whether the plaintiff[’s] choice of forum [in the District of Columbia] receives
 deference.’” (citation omitted) (alterations in original)). Claiming government exceptionalism is
 simply another attempt to distract this Court from facts which genuinely impact a § 1404 transfer
 analysis. If anything, a government plaintiff receives less deference to its choice of venue. United
 States ex rel. Salomon v. Wolff, 268 F. Supp. 3d 770, 775 (D. Md. 2017) (citing cases).

                                                 13
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        Recognizing the lack of any meaningful connection to this forum, Plaintiffs assert that

 substantial deference is granted to government antitrust actions. Opp. at 12. But while antitrust

 plaintiffs benefit from liberal venue requirements by being able to file in many fora, that does not

 entitle their ultimate choice of forum to greater deference. See Ferens v. John Deere Co., 494 U.S.

 516, 522 (1990) (explaining Congress enacted § 1404 as a response to plaintiffs using “broad

 venue provisions in federal Acts” to file in inconvenient fora). And deference is not warranted

 where, as here, “there is an insubstantial factual nexus between the case and the plaintiff’s chosen

 forum,” F.T.C. v. Illumina, Inc., 2021 WL 1546542, at *6 (D.D.C. Apr. 20, 2021) (internal

 quotation marks omitted), or where it “result[s] in duplicative litigation,” AT&T v. MCI Commc’ns

 Corp., 736 F. Supp. 1294, 1306 (D.N.J. 1990) (internal quotation marks omitted).

  II.   Google Is Not Seeking Consolidation Under 28 U.S.C. § 1407.

        Plaintiffs’ primary argument is that transfer under 28 U.S.C. § 1404 “Contravenes

 Congressional Intent.” Opp. at 6. But Plaintiffs’ argument focuses exclusively on the legislative

 history of a different statute, 28 U.S.C. § 1407, authorizing transfer via centralization by the JPML.

 Opp. at 6-9. They ignore the fact that Congress refused to exempt the DOJ Antitrust Division from

 § 1404, the statute at issue here. See Nat’l City Lines, 337 U.S. at 83-84.

        Plaintiffs note that § 1407(g) has recently been amended to expand its effect beyond the

 United States to encompass the states. Opp. at 8. As a result of those amendments, § 1407 has

 received more congressional scrutiny in recent months than it has at any other time since its

 enactment in 1968.17 Amid that scrutiny, Congress was silent regarding § 1404, which does not



 17
   Act of April 29, 1968, Pub. L. No. 90-296, 82 Stat. 109 (codified as amended at 28 U.S.C.
 § 1407). Other than one 1976 amendment, see Hart-Scott-Rodino Antitrust Improvements Act of
 1976, Pub. L. No. 94-435, § 303, 90 Stat. 1383, 1396 (1976), § 1407 had not been altered until
 December 2022. See Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, § 301, 136
 Stat. 4459, 5970 (2022).
                                                  14
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 exempt government plaintiffs in antitrust cases from transfer and consolidation. Nat’l City Lines,

 337 U.S. at 83-84. In leaving § 1404 unaltered, Congress’ intent was made clear: the federal and

 state governments’ exemption to transfer was meant to apply only in the context of a § 1407

 transfer via consolidation in an MDL.

        In the end, Plaintiffs concede that their arguments about § 1407 are beside the point because

 they “are not arguing they are categorically exempt from transfer under 28 U.S.C.

 § 1404(a).” Opp. at 8. As explained above, proper application of the relevant § 1404 principles

 shows that this case should be transferred to the Southern District of New York.

                                          CONCLUSION

        Defendant Google LLC respectfully requests that the Court order transfer to the Southern

 District of New York, for the convenience of parties and witnesses and in the interest of justice,

 given the substantively identical actions proceeding before Judge Castel in that district.

  Dated: March 8, 2023                                 Respectfully Submitted,


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